Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 1 of 8 PageID 196




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA



THE BEAUTIES AND                                   CASE NO. 8:23-cv-00821
THE BRANDS, LLC,

Plaintiffs,
vs.
AICHA YODER and
THE BLUSH BAR TAMPA, LLC,
Defendants.
__________________________________/
  DEFENDANTS’ MOTION TO SET ASIDE CLERK’S DEFAULTS AND
    INCORPORATED MEMORANDUM OF LAW IN SUPPORT OF
    DEFENDANTS’ MOTION TO SET ASIDE CLERK’S DEFAULTS

        Defendants, AICHA YODER and THE BLUSH BAR TAMPA, LLC

(collectively referred to as the “Defendants”), by and through their respective

undersigned counsel, pursuant to and in accordance with Rule 55(c) of the Federal

Rules of Civil Procedure, hereby move this Honorable Court to set aside the Clerk’s

Defaults issued against Defendants today, on May 25, 2023, and in support thereof

state as follows:

      1. On May 11, 2023, the Court rendered the Order granting Defendants’

        Amended Motion to respond to the Complaint (the “Order”) [Doc. #15].




                                      1 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 2 of 8 PageID 197




   2. Pursuant to the Order, Defendants had until Wednesday, May 24, 2023, to

      respond to the Complaint.

   3. On May 17, 2023, the undersigned filed his Notice of Appearance as Co-

      Counsel and Notice of Designation of E-Mail Services Addresses (the “Notice

      of Appearance”) [Doc. #16].

   4. Due to an internal administrative oversight, Defendants’ May 24, 2023

      deadline to respond to the Complaint was not appropriately calendared by the

      undersigned. The policy which led to that internal administrative oversight

      has since been corrected.

   5. Earlier today, May 25, 2023, Plaintiff filed its Motion for Clerk’s Default

      against Defendants. [Doc. #19].

   6. Earlier today, May 25, 2023, the Clerk entered defaults against Defendants

      (the “Defaults”). [Doc. #20 and Doc. #21].

   7. Earlier today, May 25, 2023, Defendant Yoder filed Defendant Aicha Yoder’s

      Motion to Dismiss Plaintiff’s Complaint or, Alternatively, Motion for a More

      Definite Statement, and Incorporated Memorandum of Law in Support of

      Defendant Aicha Yoder’s Motion to Dismiss Plaintiff’s Complaint or,

      Alternatively, Motion for a More Definite Statement (the “Yoder Motion to

      Dismiss”) [Doc. #22].




                                        2 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 3 of 8 PageID 198




   8. Earlier today, May 25, 2023, Defendant Blush Bar filed Defendant The Blush

      Bar Tampa, LLC’s Motion to Dismiss Plaintiff’s Complaint or, Alternatively,

      Motion for a More Definite Statement, and Incorporated Memorandum of

      Law in Support of Defendant The Blush Bar Tampa, LLC’s Motion to

      Dismiss Plaintiff’s Complaint or, Alternatively, Motion for a More Definite

      Statement (the “Blush Bar Motion to Dismiss”) [Doc. #23].

     ARGUMENT AND INCORPORATED MEMORANDUM OF LAW

      Pursuant to Rule 55(c) of the Federal Rules of Civil Procedure, the “court may

set aside an entry of default for good cause…”. Fed. R. Civ. P. 55(c).

      When determining whether a defendant has satisfied the good-cause standard,

the Court may consider a variety of factors, including whether “the default was

culpable or willful, whether setting it aside would prejudice the adversary, and

whether the defaulting party presents a meritorious defense.” Compania

Interamericana Export-Import, S.A. v. Compania Dominicana de Aviacion, 88 F.3d

948, 951 (11th Cir. 1996) (citations omitted). The Court can also look to “whether

the defaulting party acted promptly to correct the default.” Id. (citation omitted).

      The good cause standard the courts apply when determining whether to set

aside a default is less rigorous than the excusable neglect standard the courts apply

when determining whether to set aside a default judgment. E.E.O.C. v Mike Smith

Pontiac GMC, Inc., 896 F.2d 524, 528 (11th Cir. 1990). Further, it is well settled


                                        3 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 4 of 8 PageID 199




that “there is a strong policy of determining cases on their merits” and therefore

enforcing defaults should be treated “with disfavor.” In re Worldwide Web Systems,

Inc., 328 F.3d 1291, 1295 (11th Cir. 2003) (citing cases).

      First, Defendants have demonstrated the Defaults were not culpable or willful

– the Defaults were the product of an internal administrative oversight which

produced a calendaring error. That oversight has since been corrected.

      Second, setting aside the Defaults would not unfairly or substantially

prejudice Plaintiff as the adversary – Plaintiff filed its Motion for Clerk’s Default

earlier this morning, and the Defaults were entered earlier this morning. [Docs. #19-

21]. Further, on the same day Plaintiff filed its Motion for Clerk’s Default against

Defendant Yoder, Defendant Yoder filed the Yoder Motion to Dismiss, and on the

same day Plaintiff filed its Motion for Clerk’s Default against Defendant Blush Bar,

Defendant Blush Bar filed the Blush Bar Motion to Dismiss. This means Plaintiff

will have lost less than a day waiting to review Defendants’ Motions to Dismiss.

That is all. Plaintiff will not be unfairly prejudiced if the Court sets aside the

Defaults.

      Further, Plaintiff will not be unfairly prejudiced because the Complaint is a

shotgun pleading, meaning Plaintiff will never be entitled to a default judgment

based upon the Complaint as currently filed anyway. Even if Defendants had never




                                       4 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 5 of 8 PageID 200




responded, it is very likely this Court would have still required Plaintiff to amend its

pleading in order to comply with Rule 8 of the Federal Rules of Civil Procedure.

      Third, Defendants have presented a meritorious defense. “In order to establish

a meritorious defense, a moving party ‘must make an affirmative showing of a

defense that is likely to be successful.’” In re Winn Dixie Stores, Inc., 349 B.R. 744,

746 (M.D. Fla. August 7, 2006) (quoting Solaroll Shade & Shutter Corp. v. Bio-

Energy Sys., Inc., 803 F.2d 1130, 1132 (11th Cir. 1986)). Defendant Yoder filed the

Yoder Motion to Dismiss, and Defendant Blush Bar filed the Blush Bar Motion to

Dismiss. [Doc. #22-23]. In the Yoder Motion to Dismiss, Defendant Yoder defends

against the Complaint by contending Plaintiff is not entitled to any relief against

Defendant Yoder because none of the allegations in the Complaint are directed

towards Defendant Yoder and because Plaintiff has not requested any relief from

Defendant Yoder, and Defendant Yoder defendants against the Complaint by

contending the Complaint is a shotgun pleading. [Doc. #22]. In the Blush Bar Motion

to Dismiss, Defendant Blush Bar defends against the Complaint by contending the

Complaint is a shotgun pleading. [Doc. #23].

      If a complaint is a “shotgun” pleading, that can be considered a “meritorious

defense.” Cherry v. D.B. Zwirn Special Opportunities Fund, L.P., Case No. 8:09-cv-

33-T-33EAJ, 2009 WL 3231260, at *3-4 (M.D. Fla. Oct. 2, 2009). Here, the

Complaint is a shotgun pleading for two reasons. First, the Complaint is a shotgun


                                        5 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 6 of 8 PageID 201




pleading because: (1) Count IV adopts all of the allegations in Counts III, II, and I;

(2) Count III adopts all of the allegations in Counts II and I; and (3) Count II adopts

all of the allegations in I. [Doc. #22]. The Complaint therefore contains multiple

counts where each count adopts the allegations of all preceding counts. Second, the

Complaint is a shotgun pleading because it asserted all claims against both

Defendant Blush Bar and Defendant Yoder without specifying which Defendant is

responsible for which act or omission.

      Fourth, the Court should consider whether Defendants acted promptly to

correct the Defaults. They did. The Motion for Default was filed this morning, less

than twenty-four hours ago. Defendants immediately recognized the potential issue,

contacted opposing counsel, and prepared this Motion. It is difficult for Defendants

to have acted more promptly to correct the Defaults.

      WHEREFORE, Defendants, AICHA YODER and THE BLUSH BAR

TAMPA, LLC, respectfully request this Honorable Court set aside the Defaults

issued earlier this morning, and for such other and further relief as this Court deems

just and appropriate under the circumstances.

      Respectfully submitted May 25, 2023.

                                         COLEMAN LITIGATION PA

                                         /s/ Joseph M. Coleman
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                                         6 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 7 of 8 PageID 202




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                                   7 of 8
Case 8:23-cv-00821-SDM-TGW Document 24 Filed 05/25/23 Page 8 of 8 PageID 203




                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on May 25, 2023, I electronically filed the attached

document with the Clerk of Court using the Court’s CM/ECF system, which will

send a notification of electronic filing to all counsel of record.


                                         COLEMAN LITIGATION PA

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                                         8 of 8
